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    Diamond Select Toys & Collectibles, LLC                                                       Case No. 25-10312
    Balance Sheet                                                                                            Mar-25


                                                                                           Diamond Select Toys &
                                                                                              Collectibles, LLC

    Assets
    Current Assets
      Cash and cash equivalents                                                                                   7,327
      Accounts Receivable, net                                                                                      994
      Inventory                                                                                               2,891,505
      Prepaids & Deposits                                                                                     1,786,067
    Total Current Assets                                                                                     4,685,892

    Other Current Assets                                                                                         21,234
    Total Assets                                                                                              4,707,126

    Liabilities
    Liabilities Not Subject to Compromise
      Accounts Payable                                                                                         790,883
[1]   DIP Financing (Postpetition)                                                                          41,271,204
    Total Liabilities Not Subject to Compromise                                                             42,062,087

    Liabilities Subject to Compromise
      Prepetition Secured Debt                                                                                          -
      Prepetition Priority Debt                                                                                  34,898
      Prepetition Unsecured Debt                                                                              8,120,635
    Total Liabilities Subject to Compromise                                                                  8,155,533
    Total Liabilities                                                                                       50,217,620

    Total Equity                                                                                           (45,510,494)

[1] The Company is a guarantor of obligations under a prepetition credit facility of a related entity that is currently
    undergoing a sale process under Section 363 of the Bankruptcy Code
